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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,          )        1:07-cr-0264 AWI
12                                      )
                     Plaintiff,         )
13                                      )
          v.                            )        STIPULATION RE:
14                                      )        CONTINUANCE AND ORDER
     KULWANT LASHER,                    )
15   TARLOCHAN LASHER,                  )
     and                                )
16   JASWINDER LASHER,                  )
                                        )
17                                      )
                     Defendants.        )
18   ___________________________________)

19        Defendant KULWANT LASHER, by and through his attorney,

20   ANTHONY CAPOZZI, Defendant TARLOCHAN LASHER, by and through his

21   attorney, CARL M. FALLER, and Defendant JASWINDER LASHER, by and

22   through his attorney, ROGER NUTTALL, and the United States of

23   America, by and through its attorneys, BENJAMIN B. WAGNER, United

24   States Attorney, and KAREN A. ESCOBAR and SHEILA K. OBERTO,

25   Assistant United States Attorneys, hereby enter into the following

26   stipulation:

27        1.   The parties to the above-captioned matter agree to stay

28   the motion in limine schedule in this matter to pursue plea

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 1   negotiations.

 2        2.   Further, the parties intend to vacate the March 9, 2010,

 3   trial date in light of ongoing plea discussions and the current

 4   unavailability of defense counsel to proceed on March 9.           The

 5   trial confirmation hearing is currently set for February 22 at

 6   11:00 a.m.   If a resolution or stipulation regarding a new trial

 7   date is not reached before then the parties will appear on March 9

 8   to set a new trial date.

 9        3.   The parties stipulate that the continuance is

10   necessitated by the defendants’ need to negotiate a resolution of

11   this matter and the unavailability of counsel for defense.

12   DATED: February 5, 2010                      Respectfully submitted,

13                                                BENJAMIN B. WAGNER
                                                  United States Attorney
14                                                SHEILA K. OBERTO
                                                  Assistant U.S. Attorney
15
                                                  By: /s/ Karen A. Escobar
16                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
17

18                                                 /s/ Anthony Capozzi
                                                   ANTHONY CAPOZZI
19                                                 Attorney for Defendant
                                                   KULWANT LASHER
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21                                                 /s/ Carl M. Faller
                                                   CARL M. FALLER
22                                                 Attorney for Defendant
                                                   TARLOCHAN LASHER
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24                                                 /s/ Roger Nuttall
                                                   ROGER NUTTALL
25                                                 Attorney for Defendant
                                                   JASWINDER LASHER
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 1                                 O R D E R

 2        Having read and considered the foregoing stipulation,

 3        IT IS THE ORDER of the Court that the current motions in

 4   limine schedule is stayed.

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 6   IT IS SO ORDERED.

 7   Dated:   February 5, 2010              /s/ Anthony W. Ishii
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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